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13                           IN THE UNITED STATES DISTRICT COURT
14
15                         FOR THE EASTERN DISTRICT OF CALIFORNIA
16
17   UNITED STATES OF AMERICA,           )                 Case No. 2:12-CR-0051 MCE
18                                       )
19               Plaintiff,              )                 STIPULATION FOR CONTINUANCE OF
20                                       )                 STATUS HEARING FROM MARCH 7,
21               v.                      )                 2013 TO APRIL 11, 2013
22                                       )
23   VALENTINA BEKNAZAROV,               )
24   ANATOLIY BEKNAZAROV, et al.         )
25                                       )
26         Defendants.                   )
27   ____________________________________)
28
29          It is stipulated between the United States Attorney’s Office for the Eastern District of
30   California by Assistant United States Attorney Steven Lapham, Esq. and Defendant Anatoliy
31   Beknazarov through his attorney Philip Cozens, Esq., that:
32          The Status Hearing currently scheduled for March 7, 2013, at 9:15 a.m. in Judge
33   England’s Court be re-scheduled for April 11, 2013 at 9:15 a.m. in Judge England’s Court. The
34   stipulated continuance is necessary for Defendant’s attorney to consult with an immigration
35   lawyer regarding the immigration consequences of the potential settlement of the allegations
36   against Defendant.
37          Time should be excluded for defense attorney preparation pursuant to Local Code T4 and
38   the ends of justice outweigh the Defendant’s and the public’s interest in a speedy trial. Time



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 1   should be excluded from speedy trial calculations from March 7, 2013 through and including
 2   April 11, 2013.
 3           Defendant Valentina Beknazarov, through her attorney Chris Cosca, joins in the above
 4   stated stipulation.
 5           It is so stipulated.
 6   Dated: March 5, 2013                         /s/ Steven Lapham, Esq.____________
 7                                                Steven Lapham, Esq.
 8                                                Assistant United States Attorney
 9                                                Eastern District of California
10
11                                                /s/ Philip Cozens_________________
12                                                Philip Cozens
13                                                Attorney for Defendant Anatoliy Beknazarov
14
15                                                /s/ Chris Cosca__________________
16                                                Chris Cosca
17                                                Attorney for Defendant Valentina Beknazarov
18
19
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21                                               ORDER
22                   The court, having read and considered the above-stipulation and finding good
23   cause therefore, orders that the Status Hearing currently scheduled for March 7, 2013, at 9:15
24   a.m. in Judge England’s Court be re-scheduled for April 11, 2013 at 9:15 a.m. in Judge
25   England’s Court. The stipulated continuance is necessary for Defendant’s attorney to consult
26   with an immigration attorney regarding the immigration consequences of a potential settlement
27   of the allegations against Defendant. Time is excluded for defense attorney preparation pursuant
28   to Local Code T4 and the court finds the ends of justice outweigh the Defendant’s and the

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1   public’s interest in a speedy trial. Time will be excluded from speedy trial calculations from
2   March 7, 2013 through and including April 11, 2013.
3          IT IS SO ORDERED.
4   Dated: March 8, 2013
5
6
                                              __________________________________________
                                              MORRISON C. ENGLAND, JR., CHIEF JUDGE
                                              UNITED STATES DISTRICT JUDGE




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